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                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

NOELIA VELAZQUEZ,                                      )
                                                       )
                PLAINTIFF,                             )       Case No. 17-cv-3601
                                                       )
                v.                                     )       Judge Charles R. Norgle, Sr.
                                                       )
MIDLAND FUNDING, LLC and MIDLAND                       )       Magistrate Judge Sheila Finnegan
CREDIT MANAGEMENT, INC.,                               )
                                                       )
                DEFENDANTS.                            )

                       EMERGENCY MOTION TO CONTINUE TRIAL

        Plaintiff, Noelia Velazquez, by and through her attorneys, and for her Motion to Continue

Trial, states as follows:

        1.      On May 12, 2017, Plaintiff filed this action against Midland Funding, LLC and

Midland Credit Management, Inc. alleging violations of the Fair Debt Collection Practices Act,

15 U.S.C. § 1692 et seq. (“FDCPA”). (ECF No. 1).

        2.      On September 19, 2017 this Court set a trial date of April 24, 2018. (Dkt. # 20).

        3.      Parties prepared for trial and filed their Proposed Pretrial Order on April 13, 2018.

        4.      On April 23, 2018, Plaintiff went to Illinois Masonic Medical Center complaining

of problems with her pacemaker.

        5.      She reports receiving a Cardiac Stress Test and an Echocardiogram.

        6.      Plaintiff will be returning to the hospital tomorrow, on the day of her trial, for

further observation.

        7.      Plaintiff has requested documentation from her doctor and will be submitting it to

the Court.




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       8.      Plaintiff’s counsel contacted the Court with Defendants’ counsel present, and the

Court instructed Plaintiff to file a motion.

       WHEREFORE, Noelia Velazquez, by and through her attorneys, moves this Honorable

Court to continue the trial scheduled for April 24, 2018, and to set the matter for status in 14

days regarding Plaintiff’s condition and a new trial date.

                                                      Respectfully submitted,


                                                      /s/Celetha Chatman
                                                      Celetha Chatman

Celetha Chatman
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                                CERTIFICATE OF SERVICE

       I, Celetha Chatman, an attorney, hereby certify that on April 23, 2018, I electronically filed

the foregoing document using the CM/ECF system, which will send notification of such filing to

all attorneys of record.


Dated: April 23, 2018                                                        Respectfully submitted,


                                                                       By:      /s/ Celetha Chatman




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